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                   UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO DIVISION
                               WACO


COMMWORKS SOLUTIONS, LLC                  §
                                          §
vs.                                       §     NO:   WA:21-CV-00366-ADA
                                          §
COMCAST CABLE COMMUNICATIONS,             §
LLC, COMCAST CORP., COMCAST
CABLE COMMUNICATIONS
MAGAGEMENT, LLC

               ORDER RESETTING MARKMAN HEARING

      IT IS HEREBY ORDERED that the above entitled and numbered case is reset
                                                                         reset for

MARKMAN HEARING by Zoom
                   Zoom on December 27, 2021 at 01:30 PM .



                                    29th day of November, 2021.




                                              Alan D Albright
                                              UNITED STATES DISTRICT JUDGE
